                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                              Plaintiff,
                                                                     Case No. 05-CR-240
               -vs-

JULIO MUNIZ,
                              Defendant.


                           ORDER FOR RELEASE ON BOND


               Before the Court is the motion of Attorney John Campion to release the defendant,

Julio Muniz, on bond. The government does not oppose the defendant’s request. Mr. Muniz is

in need of further medical treatment that would be an additional burden on the Marshal’s service,

therefore returning Mr. Muniz to the custody of his mother, Lisa Muniz, is appropriate.

               NOW, THEREFORE, BASED ON THE FOREGOING, IT IS HEREBY

ORDERED that the defendant, Julio Muniz, shall be released to the custody of his mother, Lisa

Muniz, at 3207 West National Avenue, Milwaukee, Wisconsin. Mr. Muniz shall be placed on

home confinement with electronic monitoring with approved leave for court appearances,

attorney visits, reporting to Pretrial services, drug screens and treatment, visits to the doctor or

treating health facility or hospital, religious services, educational programming, and

employment.

               Dated at Milwaukee, Wisconsin, this 22nd day of April, 2008.

                                                     SO ORDERED,


                                                     s/ Rudolph T. Randa
                                                     HON. RUDOLPH T. RANDA
                                                     Chief Judge

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